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     Counsel for Defendants Cellco Partnership
14   d/b/a Verizon Wireless and Verizon Communications Inc.
15
                                 UNITED STATES DISTRICT COURT
16
                              NORTHERN DISTRICT OF CALIFORNIA
17

18   TERESA MACCLELLAND, Et Al.,                       Case No. 3:21-cv-08592-EMC
     For Themselves, As Private Attorneys
19   General, and On Behalf Of All Others              STIPULATION AND [PROPOSED]
     Similarly Situated,                               ORDER CONTINUING
20                                                     STATUS CONFERENCE
                                     Plaintiffs,
21   v.                                                [Hon. Edward M. Chen]
22   CELLCO PARTNERSHIP                                Further Status Conference
     D/B/A VERIZON WIRELESS; and                       Date: January 16, 2024
23   VERIZON COMMUNICATIONS INC.,                      Time: 2:30 p.m.
24                                                     Courtroom: By Zoom
                                   Defendants.
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     STIPULATION AND ORDER
     CONTINUING STATUS CONFERENCE                                     CASE NO. 3:21-CV-08592-EMC
1                                             STIPULATION
2           WHEREAS, this civil action has been settled pursuant to a written class action
3    settlement agreement that was preliminarily approved on December 15, 2023, in the proceeding
4    captioned Dean Esposito v. Cellco Partnership d/b/a Verizon Wireless, New Jersey Superior
5    Court Middlesex County Law Division Docket No. MID-L-6360-23 (“Esposito”);
6           WHEREAS, if the settlement agreement is granted final approval at the Fairness
7    Hearing scheduled for March 22, 2024, then the nationwide settlement would resolve the
8    claims of class members in 50 states and in the District of Columbia, would resolve the
9    Esposito action and would resolve the following class actions:
10                  • MacClelland, et al. v. Cellco Partnership d/b/a Verizon Wireless, et al., U.S.
11   District Court for the Northern District of California Case No. 3:21-cv-08592-EMC
12   (“MacClelland”);
13                  • Corsi, et al. v. Cellco Partnership d/b/a Verizon Wireless, et al., U.S. District
14   Court for the District of New Jersey Case No. 3:22-cv-04621-ZNQ-RLS (“Corsi”);
15                  • Allen, et al. v. Cellco Partnership d/b/a Verizon Wireless, et al., U.S. District
16   Court for the District of New Jersey Case No. 3:23-cv-01138-ZNQ-JBD (“Allen”); and
17                  • Achey, et al. v. Cellco Partnership d/b/a Verizon Wireless, et al., New Jersey
18   Superior Court Middlesex County Law Division Case No. MID-L-000160-22 (“Achey”);
19          WHEREAS, the settlement agreement states that, if the Esposito court grants final
20   approval, then the operative complaints in MacClelland, Corsi, Allen, Achey and Esposito will
21   at that time be voluntarily dismissed;
22          WHEREAS, this civil action should not at this time be dismissed;
23          WHEREAS, pursuant to this Court’s Civil Minutes dated May 23, 2023 (Dkt. 83), this
24   Court is scheduled to conduct a Status Conference on Tuesday, January 16, 2024;
25          NOW, THEREFORE, pursuant to Civil Local Rule 7-12, Plaintiffs Teresa MacClelland,
26   et al., and Defendants Cellco Partnership d/b/a Verizon Wireless and Verizon Communications
27   Inc. hereby STIPULATE and AGREE as follows:
28          1.      This Court should continue the Status Conference currently scheduled for

     STIPULATION AND ORDER                          -2-
     CONTINUING STATUS CONFERENCE                                       CASE NO. 3:21-CV-08592-EMC
1    Tuesday, January 16, 2024, to occur instead at 2:30 p.m. on Tuesday, April 23, 2024 (or
2    whatever later date is convenient to the Court); and
3           2.      This Court not need take any other action at this time.
4

5    Dated: December 22, 2023              Respectfully submitted,
6                                          DENITTIS OSEFCHEN PRINCE, P.C.
7
                                           By: /s/ Stephen P. DeNittis
8                                          Stephen P. DeNittis, Esq. (admitted pro hac vice)
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18                                         Attorneys for Plaintiffs and the Proposed Class
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                                           QUINN EMANUEL URQUHART & SULLIVAN, LLP
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21                                         By:    /s/ Shon Morgan

22                                         Shon Morgan (SBN 187736)
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26                                         Counsel for Defendants Cellco Partnership
                                           d/b/a Verizon Wireless and Verizon Communications Inc.
27

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     STIPULATION AND ORDER                         -3-
     CONTINUING STATUS CONFERENCE                                     CASE NO. 3:21-CV-08592-EMC
1                         CERTIFICATION UNDER CIVIL L.R. 5-1(h)(3)
2           The filer of this document, Paul Karl Lukacs, hereby attests that each of the other
3    signatories has concurred in the filing of this document.
4

5    Dated: December 22, 2023                                    By: /s/ Paul Karl Lukacs
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10                                               ORDER
11          PURSUANT TO STIPULATION, IT IS SO ORDERED.
12          The Status Conference currently scheduled for Tuesday, January 16, 2024, is hereby
13   CONTINUED to 2:30 p.m. on Tuesday, April 23, 2024.
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     Dated: December ___, 2023                            ______________________________
18                                                        HON. EDWARD M. CHEN
19                                                        Judge of the U.S. District Court

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     STIPULATION AND ORDER                          -4-
     CONTINUING STATUS CONFERENCE                                     CASE NO. 3:21-CV-08592-EMC
